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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


TERRI LEWIS STEVENS, AND JENNIFER AND CRAIG                                     CIVIL ACTION
RIVERA

VERSUS                                                                          NO. 20-928

THE ST. TAMMANY PARISH GOVERNMENT AND THE                                       SECTION “L” (1)
STATE OF LOUISIANA THROUGH ITS LOUISIANA
DEPARTMENT OF ENVIRONMENTAL QUALITY


                                                   ORDER

        On March 17, 2020, Plaintiffs filed their Complaint in this matter. R. Doc. 1. Defendant

St. Tammany Parish Government’s (“STPG”) responsive pleadings are due on May 8, 2020, R.

Doc. 50, and Defendant Louisiana Department of Environmental Quality’s (“LDEQ”) responsive

pleadings are due on May 22, 2020, see Fed. R. Civ. P. 12(a)(1)(A)(ii). As such, no Answers or

responsive pleadings have been filed in this matter to date. Meanwhile, on April 28, 2020,

Plaintiffs filed a Motion for Partial Summary Judgment with respect to their claims against STPG,

which is set for submission on May 13, 2020. R. Doc. 48.

        The parties have not conducted a Rule 26(f) discovery conference, nor has the Court

conducted a Rule 16 scheduling conference in this matter. Pursuant to Federal Rule of Civil

Procedure 56, which governs summary judgment procedure, the Court has the authority to deny

or to defer consideration of Plaintiffs’ Motion for Partial Summary Judgment until after the

completion of discovery. Fed. R. Civ. P. 56(d) (“If a nonmovant shows by affidavit or declaration

that, for specified reasons, it cannot present facts essential to justify its opposition, the court may:

(1) defer consideration of the motion or deny it; (2) allow time to obtain affidavits or declarations

or to take discovery; or (3) issue any other appropriate order.”). Moreover, the Fifth Circuit has
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held that granting summary judgment is premature when discovery is not completed because it

denies a party the opportunity to make a complete summary judgment record. See Smith v. City of

Jackson, Miss., 351 F.3d 183, 198 (5th Cir. 2003), aff’d on other grounds, 544 U.S. 228 (2005)

(District Court erred in granting summary judgment to defendants because plaintiffs were denied

opportunity to continue discovery and supplement the record); see also Sunbelt Sav., FSB v.

Montross, 923 F.2d 353, 357, 358 (5th Cir. 1991) (holding that summary judgment was premature

when discovery was still pending). Because the parties have not been provided with the

opportunity to conduct discovery and the Court has not yet held a scheduling conference or issued

a scheduling order, the Court concludes that Plaintiffs’ Motion for Partial Summary Judgment is

premature. Accordingly,

       IT IS ORDERED that Plaintiffs’ Motion for Partial Summary Judgment, R. Doc. 48, is

hereby DENIED AS PREMATURE, reserving the right of the party to re-file at a later date, if

necessary.

       IT IS FURTHER ORDERED that Defendant St. Tammany Parish Government’s Motion

to Deny or, in the Alternative, to Defer Consideration of, Plaintiffs’ Motion for Partial Summary

Judgment Pursuant to Fed. R. Civ. P. 56(d), R. Doc. 51, is hereby GRANTED.

       IT IS FURTHER ORDERED that Defendant St. Tammany Parish Government’s Motion

to Expedite its Motion to Deny or, in the Alternative, to Defer Consideration of, Plaintiffs’ Motion

for Partial Summary Judgment Pursuant to Fed. R. Civ. P. 56(d), is hereby DENIED AS MOOT.


       New Orleans, Louisiana, this 6th day of May, 2020.



                                                         _________________________________
                                                         ELDON E. FALLON
                                                         U.S. DISTRICT COURT JUDGE

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